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Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

Case number (if known) 25-43017

Official Form 206Sum

( Check if this is an
amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
ta. Real property:
Copy line 88 from Schedule A/B......cccecccsccsessscecssescsessessseesussrsssscssssscasuscarssecessecesssceessesnseecaseecaieecinecsuareesensesneetee $ 0.00
1b. Total personal property:
Copy line 91A from Schedule A/B........ccscccccssccscsvssessssssssessssuusssossssssenssusvasnsnsessnseesseeseussununsnunseseeseeusnnaunneetet $ 350,340.34
1c. Total of all property:
Copy line 92 from Schedule A/Bo..c.ccccccccccsscesssesssssssssssseosecsssssssscessveessensersesecsuesesssesusenssassessnsessceseeenseceteeeniteaneerey $ 350,340.34
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.........ccccccceeetseenees $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule EAP... ccc sss ceceseneeacnasnecscesensseenensttenesreeeaens $ 81,613.83
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F 0.0... ccc eset ctetetetteeeiens +$ 197,151.87
4. Total liabilities 00. cccceeeececeeeeeseecaseenereceeeeeeneceeseesneseetecaeisieianstecienenepeesseseseatieersagieerneeeetesstneass
Lines 2 + 3a + 3b $ 278,765.70
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF MICHIGAN

Case number (if known) 25-43017

CI Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1218

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

CI No. Go to Part 2.
Ml Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest
2. Cash on hand $100.00
3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Comerica Bank checking 7295 $5.00
3.2. Comerica Bank Checking 7311 $44.00
3.3. Comerica Bank 7337 $760.00
3.4. Comerica Bank Checking 7329 $5.00
3.5, Chase Bank Savings 6126 $7.81
4, Other cash equivalents (identify ail)
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor Pendy's Restaurant Group, LLC Case number (if known) 25-43017
Name
5. Total of Part 1. $921.81
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
ae ne Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
[J No. Go to Part 3.
Wi Yes Fill in the information below.
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
Security Deposit - Lease
7.1. Couvreur Family Limited Partnership $2,000.00
8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment
9. Total of Part 2. $2,000.00

Add lines 7 through 8. Copy the total to line 81.

cles) Accounts receivable

10. Does the debtor have any accounts receivable?

BE No. Goto Part 4.
[J Yes Fill in the information below.

eee Investments

13. Does the debtor own any investments?

Mi No. Go to Part 5.
C) Yes Fill in the information below.

alieee Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

C1 No. Go to Part 6.
Wl Yes Fill in the information below.
Net book value of

debtor's interest
(Where available)

Date of the last
physical inventory

General description

19. Raw materials

20. Work in progress

Valuation method used
for current value

Current value of
debtor's interest

21. Finished goods, including goods held for resale
22. Other inventory or supplies
Food Supplies Unknown _— Recent cost $5,000.00
Alcohol/Wine $0.00 Recent cost $3,500.00
23. Total of Part 5. $8,500.00
Add fines 19 through 22. Copy the total to line 84.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor Pendy's Restaurant Group, LLC Case number (if known) 25-43017

Name
24. Is any of the property listed in Part 5 perishable?
C] No
Mf Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
MNo
CJ Yes. Book value Valuation method Current Value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
MENo
CQ Yes
Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

ME No. Go to Part 7.
[J Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

C1 No. Go to Part 8.
@ Yes Fill in the information below.
General description Net book value of Valuation method used
debtor's interest for current value
(Where available)

39. Office furniture

Current value of
debtor's interest

Restaurant furniture (see attached) $26,903.70 Tax records $26,903.70
40. Office fixtures
41. Office equipment, including all computer equipment and
communication systems equipment and software
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles
43. Total of Part 7. $26,903.70
Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?
MB No
Cl Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
MNo
2 Yes
Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?
[] No. Go to Part 9.
I Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Debtor Pendy's Restaurant Group, LLC Case number (if known) 25-43017
Name
General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers debtor's interest for current value debtor's interest
(Le., VIN, HIN, or N-number) (Where available)
47, Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessels
49. Aircraft and accessories
50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
Restaurant Equipment (see attached) $309,014.83 Tax records $309,014.83
51. Total of Part 8. $309,014.83
Add lines 47 through 50. Copy the total to line 87.
52. is a depreciation schedule available for any of the property listed in Part 8?
MNo
C] Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
BNo
Cl Yes

Real property

54. Does the debtor own or lease any real property?

CI No. Go to Part 10.
@ Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
include street address or other debtor's interest (Where available)
description such as Assessor in property
Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if
available.
55.1. 20930 Mack Avenue,
Grosse Pointe
Woods, Michigan Leasehold
48236 Interest Unknown Unknown
56. Total of Part 9. $0.00
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.
57. Is a depreciation schedule available for any of the property listed in Part 97
HNo
C] Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Debtor Pendy’'s Restaurant Group, LLC Case number (if known) 25-43017
Name

MNo
Cl Yes

Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

CI No. Go to Part 11.
@ Yes Fill in the information below.
General description Net book value of Valuation method used Current value of

debtor's interest for current value debtor's interest
(Where available)

60. Patents, copyrights, trademarks, and trade secrets
61. internet domain names and websites
62. Licenses, franchises, and royalties
Liquor License Unknown Unknown
63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property
65. Goodwill

66. Total of Part 10. $0.00
Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
BNo
C] ves

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

MNo
CO Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
MNo
Cl Yes

All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

CI No. Go to Part 12.
Wi Yes Fill in the information below.

Current value of
debtor's interest

71. Notes receivable
Description (include name of obligor)
6,000.00 - 3,000.00 =
Note Receivable - Eric Swenson Total face amount doubtful or uncollectible amount $3,000.00
72. Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5

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Debtor

73.

74,

75.

Pendy's Restaurant Group, LLC Case number (if known) 25-43017

Name

Interests in insurance policies or annuities

Causes of action against third parties (whether or not a lawsuit
has been filed)

Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

Claim against the Estate of Walter Hage Unknown
Nature of claim Claim for Damages
Amount requested $0.00
Claim for damages 20930 Mack Avenue, Inc. Unknown
Nature of claim Claim for Damage
Amount requested $0.00
76. Trusts, equitable or future interests in property
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 11. $3,000.00
Add lines 71 through 77. Copy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
MNo
Cl Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 6

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Debtor Pendy's Restaurant Group, LLC

Case number (if known) 25-43017

Name

EEREEE Seay

in Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87,

88.

89.

90.

91.

92.

Official Form 206A/B

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.000. eetee terres renteeee

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy fine 78, Part 11.

Current value of
personal property

$921.81

$2,000.00

$0.00

$0.00

$8,500.00

$0.00

$26,903.70

$309,014.83

$0.00

$3,000.00

Current value of real
property

$0.00

Total. Add lines 80 through 90 for each column

$350,340.34

+ 91b.

$0.00

Total of all property on Schedule A/B. Add lines 91a+91b=92

$350,340.34

Schedule A/B Assets - Real and Personal Property

page 7

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Pendy’s Restaurant Group, LLC Physical Assets List

Storage — PODS Storage; 6700 E 14 Mile Road, Warren, MI 48092
4 patio tables

16 patio chairs

4 sun umbrellas

1 antique sink/sideboard

80 wood upholstered seat chairs

Dining Room
6 sets of booths

10 tables

80 chairs

I antique sideboard
Banquet Room
LTV

15 tables

Bar

6 high top tables

29 bar stools

1 large booth

1 stand up piano

1 antique sideboard

2 TVs

2 underbar three compartment sinks with drain boards
1 glass chiller

1 glass washer

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Entry

1 bar/hostess stand

Pizza Kitchen
1 Blodgett pizza deck over

1 pizza refrigerator prep station

Main Kitchen

1 walk-in cooler

1 steam table

1 upright broiler

1 three compartment sink

1 5x5 storage unit

I broiler

1 flattop range with oven

2 six burner range with oven

1 5x5 refrigerator prep station
1 standup freezer

2 refrigerator prep stations

1 two door reach in refrigerator
I ice cream cooler

2 5x5 prep tables

Prep Kitchen

1 ice cream machine

1 steam jacketed kettle

1 double convection oven
1 three compartment sink

1 5x5 shelving unit

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1 5x5 prep table

Outdoors
1 generator
1 walk-in cooler

1 walk-in freezer

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SM iemislcmisicelausrclicelem com lo(cral (ia meas (omer: ion

Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF MICHIGAN

Case number (ifknown) 25-43017

(Q Check if this is an
amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
(CJ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
@ Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

2. List in alphabetical order ail creditors who have secured claims. If a creditor has more than one secured Column A Column 6
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
2.1 | 20930 Mack Avenue, Inc. Describe debtor's property that is subject to a lien $0.00 Unknown

Creditor’s Name

1164 Havard Road
Grosse Pointe, Ml 48230

Creditor's mailing address Describe the lien
UCC-1
1s the creditor an insider or related party?
Bi no

Creditor's email address, if known Cl ves

ts anyone else liable on this claim?
Date debt was incurred Wino

Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number

Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply

No Oo Contingent

(] Yes. Specify each creditor, C1 untiquidated

including this creditor and its reiative a Disputed

priority.

3. Total of the doflar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. $0.00

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

Case number (if known) 25-43017

( Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/45

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. if more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

C1 No. Go to Part 2.

ME ves. Go to line 2.

2. List in alphabetical order ail creditors who have unsecured claims that are entitled to priority in whole or in part. !f the debtor has more than 3 creditors
with priority unsecured claims, fill out and attach the Additional Page of Part 1.

Priority creditor's name and mailing address

Michigan Department of Treasury

Collection Division
P.O. Box 30199
Lansing, Mi 48909-7699

Total claim

As of the petition filing date, the claim is: $81,613.83

Priority amount

$81,613.83

Check ail that apply.
CI contingent

C1 unliquidated

C] Disputed

Date or dates debt was incurred

Basis for the claim:

Sales Tax
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY Wino
unsecured claim: 11 U.S.C. § 507(a) (8)

C1 yes

List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai/ that apply. $1,242.80
Able Plumbing C Contingent
24410 John R C] Untiquidated
Hazel Park, Mi 48030-1114 CI Disputed
Date(s) debt was incurred _ Basis for the claim: Trade vendor
Last 4 digits of account number _
Is the claim subject to offset? MM No Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,500.00
AF Water Heater CI contingent
35170 Beattie Dr. C) unliquidated
Sterling Heights, MI 48312 C1 Disputed
Date(s) debt was incurred __ Basis for the claim: Trade vendor
Last 4 digits of account number _
Is the claim subject to offset? MI No [1 yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 5

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Debtor Pendy's Restaurant Group, LLC

Case number (if known) 25-43017

Name

3.3 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,465.57
City of Grosse Pointe Woods CI contingent
20025 Mack Ave. CI unliquidated
Grosse Pointe, Mi 48236 C] Disputed
Date(s) debt was incurred __ Basis for the claim: Water service
Last 4 digits of account number _
Is the claim subject to offset? Ml no 1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $1,386.47
Comcast Business C) Contingent
P.O. Box 4089 O unliquidated
Carol Stream, IL 60197-4089 C] Disputed
Date(s) debt was incurred __ Basis for the claim: Utility service
Last 4 digits of account number _
Is the claim subject to offset? Bno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,616.17
Comerica Bank Cl contingent
P.O. Box 790408 CI unliquidated
Saint Louis, MO 63179-0408 CI pisputed
Date(s) debt was incurred _ Basis for the claim: Credit Card
Last 4 digits of account number _
Is the claim subject to offset? Ml No Cl ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,832.55
Constellation Gas ©) contingent
PO Box 5473 C] Untiquidated
Carol Stream, IL 60197-5473 C] Disputed
Date(s) debt was incurred _ Basis for the claim: Utility service
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $12,000.00
Couvreur Family Limited Partnership C1 Contingent
P.O. Box 36425 C] unliquidated
Grosse Pointe, MI 48236 C1 Disputed
Date(s) debt was incurred _Varlous | Basis for the claim: unpaid rent
Last 4 digits of account number _
ls the claim subject to offset? Mino Ces
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply $3,426.83
DTE Energy C Contingent
One Energy Plaza CI untiquidated
Detroit, Ml 48226-1221 CI Disputed
Date(s) debt was incurred _ Basis for the claim: Electric Service
Last 4 digits of account number _
\s the claim subject to offset? Mino Cl yYes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $19,122.32
EH Boyle, PC C1 contingent
oo Jefferson 1 untiquidated
e. CI pis
. puted
Grosse Pointe, Ml 48230 Lecal
Basis for the claim: ga
Date(s) debt was incurred _ ssior ‘ £ ees
Last 4 digits of account number _ ls the claim subject to offset? Mino Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of §

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Debtor Pendy's Restaurant Group, LLC

Case number (if known) 25-43017

Name
3.10 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. Unknown
Estate of Walter Hage, Deceased @ contingent
clo B.J. Decker Mi Uniiquidated
2104 Hampton maquigate
Grosse Pointe, MI 48236 MI Disputed
Date(s) debt was incurred _ Basis forthe claim: _
Last 4 digits of account number __ is the claim subject to offset? Mino (yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $4,002.26
Fairway Packing CI contingent
18300 45 Mile Road I uniquidated
Cj Disputed
Finchville, KY 40022-6000
. Basis for the claim: Trade vendor
Date(s) debt was incurred _ ee
Last 4 digits of account number Is the claim subject to offset? Ml No [1 yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply $50,875.00
Finvest CJ contingent
77 Spruice Street Suite 301 C] untiquidated
Cedarhurst, NY 11516 Ml Disputed
Date(s) debt was incurred 8/7/2024
ts) —_—_—r Basis for the claim: MCA Loan
Last 4 digits of account number __
ls the claim subject to offset? Mno Ces
3.13 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $36,000.00
Fox Funding Group, LLC CI Contingent
803 S. 21st Ave. CT] unliquidated
Hollywood, FL 33020 Disputed
Date(s) debt was Incurred
®) ” Basis for the clam: MCA Loan_
Last 4 digits of account number __
Is the claim subject to offset? Ml No [C1 yes
3.14 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,186.05
Gordon's CI contingent
7770 Kensington Ct. (7 unliquidated
Brighton, M! 48116 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: Trade vendor
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
3.15 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $21,933.28
Itria Ventures, LLC CJ Contingent
One Oenn Plaza, Ste. 3130 CI unliquidated
New York, NY 10119 MW dispute
Date(s) debt was incurred May 31, 2024
fs) Basis for the clam: MCA Loan
Last 4 digits of account number __
is the claim subject to offset? Ml No [] ves
3.16 | Nonpriority creditor's name and mailing address As of the petition filing date, the ciaim is: Check aif that apply. $10,000.00
MCA Resolve LLC C] contingent
220 Congress Park Dr., Ste. 215 C7 untiquidated
Delray Beach, FL 33445 MI Disputed
Date(s) debt was incurred
ts) - Basis for the claim: MCA Loan
Last 4 digits of account number __
is the claim subject to offset? Ml No (1 yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 3 of §

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Debtor Pendy's Restaurant Group, LLC

Case number (if known)

25-43017

Name

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply $3,282.87
Michigan Foods Cl contingent
16901 Harper C1 Untiquidated
Detroit, Ml 48224 1 pisputed
Date(s) debt was incurred __ Basis for the claim: Trade vendor
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. $1,000.00
Nicole Hamborsky CJ contingent
eens Neighbor. ue C untiquidatea
arylan ree (I Disputed
Grosse Pointe Park, Ml 48230 trade vend
is for the claim:
Date(s) debt was incurred _ Basis forthe claim: {rade vendor
Last 4 digits of account number _ Is the claim subject to offset? MNo [ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply $19,147.67
SpotOn Inc. Ci contingent
100 California Street, 9th floor [3 unliquidated
San Francisco, CA 94111 @ pisputea
Date(s) debt was incurred
‘s) ~ Basis for the claim: MCA Loan
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
3.20 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $1,029.03
The Boelter Companies C contingent
PO Box 734296 C] untiquidated
Chicago, IL 60673-4296 CI disputed
Date(s) debt was incurred __ Basis for the claim: Trade Vendor
Last 4 digits of account number __
Is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,103.00

US Foods
98612 Collections Center Drive
Chicago, IL 60693-8612

Date(s) debt was incurred _
Last 4 digits of account number _

CQ Contingent
C) unliquidated
1] Disputed

Basis forthe clam: Trade vendor

is the claim subject to offset? Ml No [I ves

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

41 Jaris Lending, LLC
1409 Chapin Ave.
Burlingame, CA 94010

On which line in Part1 or Part 2 is the
related creditor (if any) listed?

Line 3.19

C1 Notlisted. Explain

Last 4 digits of
account number, if
any

4.2 Jean Marie ingersoll
18062 Wildmere Street
Detroit, Ml 48221-2729

Line 3.18

Cl] Not listed. Explain

Official Form 206 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor Pendy's Restaurant Group, LLC Case number (if known) 25-43017

Name
Name and mailing address On which line in Partt or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
43 Joseph S. Jacobs 342
Line 3. _

Ershowsky Verstandig PLLC
290 Central Ave., Ste. 109

Lawrence, NY 11559 [1 Nottisted. Explain

44 — State of Michigan
Department of Treasury

Dept. 77003 q
Detroit, Mi 48277-0003 Not listed. Explain

Line 2.1 _

GEEZ Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts

Sa. Total claims from Part 4 5a. $ 81,613.83
5b. Total claims from Part 2 5b. + § 197,151.87
Sc. Total of Parts 1 and 2
Lines 5a + 5b = 5c, 5c. $ 278,765.70
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of §

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MUM MILL elem coms sam it omer: ciom

Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

Case number (ifknown) 25-43017

C] Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
[J No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

@ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Commerical Lease

lease is for and the nature of
the debtor's interest

State the term remaining 3 years / . .
Couvreur Family Limited Partnership

List the contract number of any P.O. Box 36425
government contract Grosse Pointe, Ml 48236
2.2. State what the contract or Dishwasher lease

lease is for and the nature of
the debtor's interest

State the term remaining

Ecolab, Inc.
List the contract number of any P.O. Box 70343
government contract Chicago, IL 60673
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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LIMES Mrauceleuiclicels meme cra ata me ttt em erst on

Debtor name

Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the:

Case number (ifknown) 25-43017

EASTERN DISTRICT OF MICHIGAN

Official Form 206H
Schedule H: Your Codebtors

(Q Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

O No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. if the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor

Column 2: Creditor

Name Mailing Address Name Check all schedules
that apply:
2.1. Susan M.Pendy 1975 Shorepointe Lane Couvreur Family OD
Grosse Pointe, Ml 48236 Limited Partnership MEF 3.7
CG
2.2 Susan M.Pendy 1975 Shorepointe Lane Finvest Op
Grosse Pointe, MI 48236 MEF 3.12
OG
2.3. Susan M.Pendy 1975 Shorepointe Lane itria Ventures, LLC OD
Grosse Pointe, Ml 48236 MEF 3.15
OG
24 Susan M.Pendy 1975 Shorepointe Lane MCA Resolve LLC Cp
Grosse Pointe, MI 48236 MEF 3.16
OG
2.5 Susan M.Pendy 1975 Shorepointe Lane SpotOn Inc. CID
Grosse Pointe, MI 48236 MEF 3.19
OG
Official Form 206H Schedule H: Your Codebtors Page 1 of 2

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Debtor Pendy's Restaurant Group, LLC Case number (ifknown) 25-43017

Additional Page to List More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor Column 2: Creditor
2.6 Susan M.Pendy 1975 Shorepointe Lane Fox Funding Group, OD
Grosse Pointe, Ml 48236 LLC ODO er
CG
Official Form 206H Schedule H: Your Codebtors Page 2 of 2

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IMUM CM Ueratir- cela meemie (rath m Ulcers

Debtorname Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

Case number (if known) 25-43017

(1 Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

ium Income

1. Gross revenue from business

CI None.
identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check ail that apply (before deductions and
exclusions)

From the beginning of the fiscal year to filing date: @ Operating a business $201,044.80
From 1/01/2025 to Filing Date

C Other
For prior year: M@ Operating a business . $944,421.41
From 1/01/2024 to 12/31/2024

C Other
For year before that: a Operating a business $632,939.18
From 1/01/2023 to 12/31/2023

C) Other

2. Non-business revenue
include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

Wi None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

CJ None.
Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply
Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 1

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Debtor Pendy's Restaurant Group, LLC Case number (itknown) 25-43017

4.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply
3.1. SpotOn inc. various $26,787.58 (] Secured debt
100 California Street, 9th floor Wl Unsecured loan repayments

San Francisco, CA 94111 CJ Suppliers or vendors

CI Services
 Other__

3.2. Einvest various $21,600.00 [ Secured debt

77 Spruice Street Suite 301 Ml Unsecured loan repayments

Cedarhurst, NY 11516 [ Suppliers or vendors

Cl Services
C) Other__

Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

M@ None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreciosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

MI None

Creditor's name and address Describe of the Property Date Value of property

Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

Ml None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

GEESE Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.
C] None.
Case titie Nature of case Court or agency's name and Status of case
Case number address
7.1. Pendy's Restaurant Group, Civil Wayne County Circuit Court =I pending
LLC v. Estate of Walter Hage 2 Woodward Avenue C1 on appeal
24-017905-cz Detroit, MI 48226 CI Concluded
Official Form 207 Statement of Financial Affairs for Non-individuats Filing for Bankruptcy page 2

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Debtor Pendy's Restaurant Group, LLC

Case number (ifknown) 25-43017

Case title Nature of case Court or agency's name and Status of case
Case number address

7.2. Estate of Walter Hage v. Civil Groose Pointe Woods M@ Pending
Pendy‘s Restaurant Group, District Court CI) On appeal
LLC 20025 Mack Plaza C] Concluded
23-075LT-LT Grosse Pointe, Ml 48236

7.3. Hamborsky v. Pendy's Collection Grosse Pointe Woods M@ Pending
Restaurant Group, LLC District Court [J On appeal
25-015GC-GC 20025 Mack Plaza CI Concluded

Grosse Pointe, MI 48236

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any properly in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Mi None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

Wi None

Recipient's name and address

Certain Le

Description of the gifts or contributions Dates given Value

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

@ None

Description of the property lost and
how the loss occurred

Certain Payments or Transfers

Amount of payments received for the loss Dates of loss Value of property

if you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
AB: Assets ~ Real and Personal Property).

lost

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy

relief, or filing a bankruptcy case.

C] None.

Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy

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page 3
Debtor Pendy's Restaurant Group, LLC Case number (if known) 25-43017

Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Strobl PLLC
Lynn M. Brimer
33 Bloomfield Hills Parkway
Suite 125 March 26,

Bloomfield Hills, Mi 48304 2025 $4,000.00

Email or website address

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

Mf None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

M@ None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Mi Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

Ml No. Go to Part 9.
(Yes. Fill in the information below. '

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor's care

Personally Identifiable information

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4

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Debtor Pendy's Restaurant Group, LLC Case number (ifknown) 25-43017

16. Does the debtor collect and retain personally identifiable information of customers?

M No.
(Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

Mi No. Go to Part 10.
[1 Yes. Does the debtor serve as plan administrator?

Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

Mi None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
Mf None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

[1 None

Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?

PODS Storage Susan Pendy See Exhibit to Schedule A/B Cl No

6700 E. 14 Mile Road Bes

Warren, Ml 48092

Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

i None

Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page §

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Debtor Pendy's Restaurant Group, LLC Case number (itknown) 25-43017

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M@ No.

Cl Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

M@ No.

Cl Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

M No.

Cl Yes. Provide details below.

Site name and address Governmental unit name and Environmental taw, if known Date of notice
address

Ziska Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Ml None

Business name address Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

CI None
Name and address Date of service
From-To
26a.1. Maha Rabah Khalil 7/2023 - present
Rabah Accounting

3150 W. 13 Mile Road, Ste, 118
Farmington, Ml 48334

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

CJ None

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 6

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Debtor Pendy's Restaurant Group, LLC Case number (ifknown) 25-43017

Name and address Date of service
From-To
26b.1. Maha Rabah Khalil
Rabah Accounting
3150 W. 13 Mile Road, Ste, 118
Farmington, MI 48334

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
[ None

Name and address {if any books of account and records are
unavailable, explain why
26c.1._ Maha Rabah Khalil
Rabah Accounting
3150 W. 13 Mile Road, Ste, 118
Farmington, Mi 48334

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

Mi None

Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

M@ No

Cl Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Susan M.Pendy 1975 Shorepointe Lane Member 100%

Grosse Pointe, MI 48236

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

M@ No
Cl] Yes. identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

M No
C] Yes. identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

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Debtor Pendy's Restaurant Group, LLC Case number (ifknown) 25-43017

No
(1 Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

M@ No
Cl] Yes. Identify below.

Name of the pension fund Employer Identification number of the pension
fund

iZuecews Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon April 3, 2025

isi Susan M. Pendy Susan M. Pendy
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
MI No

Cl Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8

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In re

United States Bankruptcy Court
Eastern District of Michigan

Pendy's Restaurant Group, LLC Case No. 25-43017

Debtor(s) Chapter 11

STATEMENT OF ATTORNEY FOR DEBTOR(S)
PURSUANT TO F.R.BANKR.P. 2016(b)

The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:

The undersigned is the attorney for the Debtor(s) in this case.

The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]

[] FLAT FEE
A. For legal services rendered in contemplation of and in connection with this case,
exclusive of the filing fee paid... eee eee eee
B. Prior to filing this statement, received... 00. eee ee
C. The unpaid balance due and payable is... 0... 0. ee eee .
[X] RETAINER
A. Amount of retainer received... 0.0.0. ee tees 0.00
B. The undersigned shall bill against the retainer at an hourly rate of $__550.00__. [Or attach firm hourly rate schedule.]

Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

$_ 1,738.00 _ of the filing fee has been paid.

In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
that do not apply]

A. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
bankruptcy;

Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
Renrecentation.¢ he.debtorin-adxve ne Arnceedina cl ontactad hankriisn miogttorc:

Reaffirmations;

Redemptions;

Other:

Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

B
Cc
Dy
E.
F
G

By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
actions or any other adversary proceeding.

The source of payments to the undersigned was from:
A, Debtor(s)’ earnings, wages, compensation for services performed
B. XX Other (describe, including the identity of payor) Susan Pendy

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7. The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or

corporation, any compensation paid or to be paid except as follows:

Dated: April 3, 2025

Agreed: /s/ Susan M. Pendy

/si Lynn M. Brimer

Susan M. Pendy
Debtor

Attorney for the Debtor(s)

Lynn M. Brimer

Strobl PLLC
33 Bloomfield Hills Parkway
Suite 125

Bloomfield Hilis, Ml 48304
(248) 540-2300

P43291 Mi

Debtor

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